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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 UNITED STATES OF AMERICA,                           ) CIVIL ACTION NO.
          Plaintiff                                  )
                                                     )
 v.                                                  ) JUDGE
                                                     )
 WENDI L. LABORDE AND                                ) MAGISTRATE JUDGE
 CCLCA TRUST                                         )
           Defendants                                )



                  COMPLAINT TO AVOID FRAUDULENT TRANSFER

       NOW INTO COURT comes the UNITED STATES OF AMERICA through the United

States Attorney for the Western District of Louisiana and the undersigned Assistant United States

Attorney, who brings this civil action to set aside the transfer of property pursuant to the Federal

Debt Collection Procedures Act, 28 U.S.C. §§ 3301 - 3308 and seeks judgment against the

transferee of such property, and for its Complaint respectfully represents as follows:

                                         THE PARTIES

       1.      Plaintiff, the United States of America (the “United States” or “Plaintiff”), is a

creditor of Wendi L. LaBorde by reason of a judgment entered in favor of the United States against

her on December 29, 2010 in the principal amount of $298,079.15, plus costs and judicial interest.

       2.      Defendant, Wendi L. LaBorde (“LaBorde”), is a person of the full age of majority

and a resident of California, who may be served at 850 Beach Street #315, San Diego, California

92101. LaBorde is indebted to the United States by virtue of the aforementioned judgment.

       3.      Defendant, CCLCA Trust (the “Trust”), is a Louisiana Trust formed by LaBorde

which may be served through its Trustee, Linda Feierlein, at 3524 Eastlake Drive, Shreveport,




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Louisiana 71105. In September 2014, LaBorde transferred property to the Trust with intent to

hinder, conceal and delay the United Sates in collecting the debt owed by LaBorde.

                                    JURISDICTION AND VENUE

        4.         This Court has original jurisdiction over this proceeding pursuant to 28 U.S.C. §§

1331 and 1345 as the United States is the plaintiff commencing this action under the Federal Debt

Collection Procedures Act, 28 U.S.C. §§ 3001 et seq.

        5.         This Court has jurisdiction over the parties pursuant to 28 U.S.C. §3004(b), which

authorizes nationwide service of process and enforcement.

        6.         Venue is proper in the Western District of Louisiana pursuant to 28 U.S.C. § 1391

as a substantial part of the events giving rise to this action occurred in this district.

                                                   FACTS

        7.         On January 5, 2010, the United States brought suit against LaBorde on behalf of

the Department of Education to collect on a debt owed by LaBorde arising from a several defaulted

student loans. 1

        8.         On March 22, 2010, LaBorde responded to the United States’ suit. LaBorde only

disputed the amount of her debt to the United States; she did not deny that she owed student loan

debt.

        9.         On December 29, 2010, a judgment was entered in favor of the United States and

against LaBorde in the principal amount of $298,079.15, plus costs and judicial interest as of

December 15, 2010 in the amount of $97,161.17 with judicial interest continuing to accrue and to

be compounded annually (the “Judgment”).




1
 See the matter styled, “United States of America v. Wendi L. Laborde,” Docket No. 10-00008 in the United States
District Court, Western District of Louisiana, Shreveport Division.
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        10.     LaBorde appeared for Judgment Debtor Examinations on July 19, 2011 and June

28, 2013. According to the financial statements provided by LaBorde in these examinations, the

sum of her debts exceeded the sum of her assets. Therefore, she was insolvent.

        11.     LaBorde made no payments to satisfy the Judgment in 2011, 2012 and 2013.

                                   The 2014 Windfall to LaBorde

        12.     On August 11, 2014, LaBorde received $37,500.00 as part of a settlement of her

late father’s estate.

        13.     On August 14, 2014, LaBorde offered to satisfy the Judgment with a lump sum

payment of $35,000.00.

        14.     In an effort to evaluate LaBorde’s offer, on August 19, 2014, the United States

requested a current financial statement from LaBorde.

        15.     LaBorde did not provide the requested financial statement and she did not pay the

$35,000.00 to the United States.

        16.     On September 8, 2014, LaBorde received the proceeds of her late mother’s life

insurance policy in the form of a check in the amount of $485,902.60. She did not disclose the fact

that she received these proceeds to the United States.

        17.     The foregoing funds that LaBorde received represented a windfall. During the

months of July, August and September of 2014, LaBorde’s balance in her Chase Savings Account

was $50.01. On July 11, 2014, the balance in LaBorde’s Chase Checking Account was $830.36

and on September 10, 2014, the balance in this account was $842.94.

                                The formation of CCLCA Trust

        18.     On September 18, 2014, LaBorde formed the CCLCA Trust.




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           19.     The Trust has only one beneficiary, Connie Christine LaBorde (“Christine”). 2

Christine is both the income and principal beneficiary. The Trustee is authorized to make

distributions from the Trust only for Christine’s benefit.

           20.     The Trust is irrevocable and, pursuant to terms of the Trust instrument, LaBorde

retained no interest in, or right to, the Trust’s property.

                                                 The Transfer

           21.     On September 18, 2014, LaBorde donated the $485,902.60 she received from her

mother’s life insurance policy to the Trust.

           22.     LaBorde did not receive any value for this transfer, was otherwise insolvent at the

time of the transfer, and did become fully insolvent as a result of the transfer.

           23.     LaBorde did not disclose to the United States her receipt of the insurance proceeds

or the transfer of the proceeds to the Trust.

           24.     The transfer was made to hinder, delay, and defraud the United States.

                                      Property acquired by the Trust

           25.     On September 30, 2014, the Trust, with the funds donated by LaBorde, purchased

a 2008 Toyota FJ Cruiser VIN #JTEBU11F18K032733 (the “Toyota”). The purchase price of the

Toyota was $28,606.50 and the Trust paid this amount by Cashier’s Check.

           26.     The title to the Toyota is held by the Trust.

           27.     On October 22, 2014, the Trust purchased a Condominium in San Diego,

California, municipally known as 850 Beech Street #315, San Diego, California 92101 (the

“Condo”). The purchase price of the Condo was approximately $430,000.00, which was paid in

full by the Trust, again using the funds donated by LaBorde.




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    Christine LaBorde is Wendi L. LaBorde’s daughter.
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       28.     The Trust is the record owner of the Condo.

       29.     The Trust made other distributions between September 2014 and April 2015 for

various purposes including Homeowner Association Dues and property taxes for the Condo,

LaBorde’s attorneys’ fees and miscellaneous checks to LaBorde.

       30.     According to the terms of the Trust, distributions were only to be made for the

benefit of its principal and income beneficiary, Christine LaBorde. However, the purchase of the

Toyota and the Condo were not for this purpose, nor were the other various distributions made by

the Trust.

       31.     LaBorde surreptitiously moved to San Diego, California, shortly after the foregoing

transfer was made and the transferee acquired the above described property.

                                          The Toyota

       32.     The Toyota is currently in LaBorde’s possession and has been exclusively in her

possession in San Diego, California since January 2015.

       33.     LaBorde pays all insurance, gas and maintenance costs for the Toyota.

       34.     Christine LaBorde lives in Fayetteville, Arkansas, where she drives a Lexus ES350.

                                           The Condo

       35.     Christine has never lived in the Condo.

       36.     LaBorde is the only person who has lived in the Condo after it was purchased by

the Trust.

       37.     The Trust paid the Condo’s Homeowner Association Dues until the Trust no longer

had enough money to continue the payments.

       38.     LaBorde currently pays the Homeowner Association Dues, property taxes,

insurance, maintenance costs and utilities for the Condo.



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                                       The current status of the Trust

         39.      The original Trustee of the Trust was Robert Rowell. He was removed as Trustee

and replaced with Linda Feierlein (“Feierlein”) on November 3, 2014. Feierlein has been the

Trustee since that time.

         40.      Upon information and belief, LaBorde has not communicated with Feierlein in

several years.

         41.      Upon information and belief, the Trust property currently consists of less than

$100.00.

         42.      The Trust has never asked LaBorde to pay rent while she resides in the Condo and

LaBorde does not pay rent to the Trust for its use.

         43.      The Trust has never asked LaBorde to lease the Toyota and LaBorde does not make

any payments to the Trust for its use.

                      The current status of LaBorde’s Debt to the United States

         44.      LaBorde did not make any payments on the Judgment in 2011, 2012, 2013, 2014,

2015 and 2016.

         45.      On February 3, 2017, the United States sent a demand letter to LaBorde. In response

to this demand letter, LaBorde began making payments in the amount of $200.00 per month.

         46.      The current balance of the debt owed by LaBorde is $440,482.11, which includes

$407,017.55 in principal, surcharges in the amount of $33,084.21, and $380.35 in pre-COVID

interest. 3

         47.      This Complaint seeks to avoid LaBorde’s transfer of $485,902.60 to the Trust, a

judgment against the Trust as transferee and a judgment lien against the Trust’s property to secure


3 Judicial interest is not accruing at this time due to the Department of Justice’s temporary suspension of civil debt
collection in response to the COVID-19 pandemic, which is in place until September 30, 2020. However, judicial
interest will begin to accrue again when this suspension is lifted.
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the United States’ interest in the property for the satisfaction of LaBorde’s debt to the United

States.

                                   COUNT ONE
                      FRAUDULENT TRANSFER, 28 U.S.C. § 3304(a)(1)

          45.   Plaintiff incorporates paragraphs 1 – 47 as if fully set forth herein.

          46.   Pursuant to 28 U.S.C. § 3304(a)(1), a transfer made by a debtor is fraudulent as to

a debt owed to the United States which arose before the transfer, if the debtor makes the transfer

without receiving a reasonably equivalent value in the exchange and the debtor is insolvent at the

time of the transfer or the debtor becomes insolvent as a result of the transfer.

          47.   A debtor is presumed to be insolvent when the debtor is generally not paying her

debts as they become due. 28 U.S.C. § 3302.

          48.   The transfer described in paragraph 20 made by LaBorde is fraudulent pursuant to

28 U.S.C. § 3304(a)(1) because LaBorde’s debt to the United States arose before the transfer, she

did not receive reasonably equivalent value in the exchange and she was insolvent at the time of

the transfer and remained insolvent after the transfer.

                                  COUNT TWO
                      FRAUDULENT TRANSFER, 28 U.S.C. § 3304(a)(2)

          45.   Plaintiff incorporates paragraphs 1 – 47 as if fully set forth herein.

          46.   Pursuant to 28 U.S.C. § 3304(a)(2), a transfer made by a debtor is fraudulent as to

a debt owed to the United States which arose before the transfer, if the debtor makes the transfer

to an insider, the debtor was insolvent at the time, and the insider had reasonable cause to believe

the debtor was insolvent.

          47.   A debtor is presumed to be insolvent when the debtor is generally not paying her

debts as they become due. 28 U.S.C. § 3302.



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        48.     The transfer described in paragraph 20 made by LaBorde is fraudulent pursuant to

28 U.S.C. § 3304(a)(1) because LaBorde’s debt to the United States arose before the transfer, she

made the transfer to an insider, a Trust that she created, and therefore knew that she was insolvent

at the time of the transfer.

                                 COUNT THREE
                    FRAUDULENT TRANSFER, 28 U.S.C. § 3304(b)(1)(A)

        49.     Plaintiff incorporates paragraphs 1 – 47 as if fully set forth herein.

        50.     Pursuant to 28 U.S.C. § 3304(b)(1)(A), a transfer made by a debtor is fraudulent as

to a debt owed to the United States if the debtor makes the transfer with actual intent to hinder,

delay or defraud a creditor.

        51.     In determining “actual intent” the Court may consider the following nonexclusive

factors:

        a) the debtor retained possession or control of the property transferred after the transfer;

        b) the transfer was concealed from the creditor;

        c) the debtor had been sued before the transfer was made;

        d) the transfer was of substantially all the debtor’s assets;

        e) the debtor absconded;

        f) the debtor concealed the assets; and

        g) the debtor was insolvent or became insolvent shortly after the transfer was made.

28 U.S.C. § 3304(b)(2).

        52.     The transfer described in paragraph 20 made by LaBorde is fraudulent pursuant to

28 U.S.C. § 3304(b)(1)(A), as evidenced by the following facts which establish that LaBorde had

actual intent to hinder, delay and defraud the United States:




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       a) LaBorde retained possession of the Toyota and the Condo after she transferred the

insurance proceeds to the Trust and the Trust purchased the property.

       b) LaBorde concealed the insurance proceeds from the United States.

       c) LaBorde knew that the United States was attempting to collect on its Judgment against

her because she participated in two (2) Judgment Debtor Examinations and had offered to settle

her debt to the United States for $35,000, the month before she acquired the insurance proceeds.

       d) The transfer of the insurance proceeds was substantially all of LaBorde’s assets as

demonstrated by the balance in LaBorde’s personal accounts.

       e) LaBorde absconded to California to live in the newly purchased Condo with the newly

purchased Toyota.

       f) LaBorde concealed the Trust and its assets from the United States.

       g) Based on the information provided by LaBorde in her Judgment Debtor Examinations

in 2011 and 2013 and her 2014 bank account information, LaBorde was insolvent at the time of

the transfer and remained insolvent after the transfer.

                                 COUNT FOUR
                    DECLARATORY JUDGMENT, 28 U.S.C. §2001 et seq.

       53.     Plaintiff incorporates paragraphs 1 – 46 as if fully set forth herein.

       54.     The Federal Declaratory Judgment Act, 28 U.S.C. § 2201, states that “[i]n a case

of actual controversy within its jurisdiction…any court of the United States, upon the filing of an

appropriate pleading, may declare the rights and other legal relations of any interested party

seeking such declaration, whether or not further relief is or could be sought. Any such declaration

shall have the force and effect of a final judgment or decree and shall be reviewable as such.”

       55.     Plaintiff alleges that the Trust is merely a nominee or “straw purchaser” of the

Vehicle and the Condo purchased solely with funds transferred by LaBorde for the purpose of


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 evading enforcement of a judgment against LaBorde, and that LaBorde is the true owner of the

 Vehicle and Condo.

        56.     The Vehicle and Condo are both currently titled in the name of the Trust, and

 LaBorde has denied ownership of both the Vehicle and the Condo. Therefore, a real and substantial

 controversy exists between the parties as to the true ownership of the Vehicle and the Condo.

                                     REQUESTED RELIEF

        56.     28 U.S.C. § 3306 provides several remedies where, as here, a debtor has

 fraudulently transferred assets to avoid payment of a debt owed to the United States. The Court

 may avoid the transfer to the extent necessary to satisfy a debt to the United States. The Court may

 also provide a remedy under the Federal Debt Collection Procedures Act against the asset

 transferred or against the other property of the transferee. The Court may provide any other relief

 as the circumstances may require. Judgment may also be entered against the transferee of the asset

 transferred. 28 U.S.C. § 3307.

        57.     As to Count One, the transfer described in paragraph 20 should be adjudged a

 fraudulent transfer pursuant to 28 U.S.C. § 3304(a)(1) and the transfer to the Trust should be

 avoided and set aside.

        58.     As to Count Two, the transfer described in paragraph 20 should be adjudged a

 fraudulent transfer pursuant to 28 U.S.C. § 3304(a)(2) and the transfer to the Trust should be

 avoided and set aside.

        59.     As to Count Three, the transfer described in paragraph 20 should be adjudged a

 fraudulent transfer pursuant to 28 U.S.C. § 3304(b)(1)(A) and the transfer to the Trust should be

 avoided and set aside.




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        60.     Judgment should be entered against the transferee, CCLCA Trust, for the value of

 the transfer, but not exceeding the amount of the debt to the United States, pursuant to 28 U.S.C.

 § 3307(b).

        61.     As to Count Four, judgment should be entered pursuant to 28 U.S.C. 2001 et. seq.

 declaring the rights and other legal relations of the parties to this suit and that LaBorde, not the

 Trust, is the true owner of both the Vehicle and the Condo

        WHEREFORE THE UNITED STATES OF AMERICA PRAYS for the following relief:

        A.      That this Court adjudge and decree that the transfer of $485,902.60 from Wendi L.

 LaBorde to the CCLCA Trust is a fraudulent transfer, is hereby avoided and set aside;

        B.      That this Court enter judgment against CCLCA Trust, for the value of the transfer,

 but not exceeding the amount of the debt to the United States;

        C.      That this Court enter judgment declaring that the property currently titled in the

 name of CCLCA Trust: the 2008 Toyota FJ Cruiser VIN #JTEBU11F18K032733 and the

 condominium municipally known as 850 Beech Street #315, San Diego, California 92101, is

 owned by Wendi L. LaBorde and shall be titled in her name and, thus, subject to the judgment lien

 in favor of the United States of America to the extent necessary to satisfy the Judgment rendered

 against Wendi L. LaBorde;

        D.      That the United States have its costs in this action and all other relief as is equitable

 and appropriate under the circumstances; and

        E.      For all other relief as the Court deems just and proper.




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                                           Respectfully submitted,

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